Case: 1:18-cv-05587 Document #: 296 Filed: 03/18/19 Page 1 of 1 PageID #:5098

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

United States Securities and Exchange Commission,
et al.
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:18−cv−05587
                                                                   Honorable John Z. Lee
Equitybuild, Inc., et al.
                                                      Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 18, 2019:


       MINUTE entry before the Honorable Young B. Kim: Motion hearing held. The
motions are taken under advisement. The court will make every effort to rule on the
pending motions as quickly as possible. Mailed notice (ma,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
